Case 1:21-cr-20218-AHS Document 268 Entered on FLSD Docket 04/27/2022 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                            CASE NO.: 21-20218-CR-SINGHAL


  UNITED STATES OF AMERICA               )
            Plaintiff,                   )
                                         )
             v.                          )
                                         )
  MIGUEL ALEJANDRO ORTIZ                 )
              Defendant.                 )
  ______________________________________ )



          DEFENDANT’S MOTION FOR CONTINUANCE OF THE TRIAL

     COMES NOW, MIGUEL ALEJANDRO ORTIZ., by and through undersigned counsel

  and hereby files this Motion for a Continuance of the Trial of this cause and as grounds

  thereof states the following:

         1.     That the defendant is scheduled for trial on May 23, 2022.

         2.      Defense Counsel was not provided discovery from prior counsel.

         3.      Defense Counsel had to purchase a new hard drive and the Government had

                to download the discovery.

         4.      It took several weeks for the Government to download all of the discovery.

         5.      Defense Counsel received the discovery on April 18, 2022.

         6.      Defense Counsel needs additional time to review the discovery and meet

                with the client.

         7.      Defense Counsel has spoken to AUSA Sean McLaughlin and he has no

                                              1
Case 1:21-cr-20218-AHS Document 268 Entered on FLSD Docket 04/27/2022 Page 2 of 3




                objection to this motion.

         WHEREFORE, the defendant respectfully requests that the Court grant the

  Defendant’s Motion for Continuance of the Trial.

                                       Kristi Flynn Kassebaum
                                       KASSEBAUM & BASILE P.A.
                                       150 West Flagler Street Suite 1675
                                       Miami, Florida 33130
                                       Tel.: 305-893-0006

                                       BY:   /s/ Kristi F. Kassebaum
                                             KRISTI F. KASSEBAUM
                                             FBN: 860621


                                   CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on this 27th day of April 2022, a true and correct copy of

  the foregoing motion was furnished to all counsel on the list of counsel designated to

  receive electronic filings in this case.

                                             /s/ Kristi F. Kassebaum
                                             KRISTI F. KASSEBAUM




                                                2
Case 1:21-cr-20218-AHS Document 268 Entered on FLSD Docket 04/27/2022 Page 3 of 3




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